Case 1:19-cr-00092-SPW Document 68 Filed 02/12/20 Page 1 of 7
Case 1:19-cr-00092-SPW Document 68 Filed 02/12/20 Page 2 of 7
Case 1:19-cr-00092-SPW Document 68 Filed 02/12/20 Page 3 of 7
Case 1:19-cr-00092-SPW Document 68 Filed 02/12/20 Page 4 of 7
Case 1:19-cr-00092-SPW Document 68 Filed 02/12/20 Page 5 of 7
Case 1:19-cr-00092-SPW Document 68 Filed 02/12/20 Page 6 of 7
Case 1:19-cr-00092-SPW Document 68 Filed 02/12/20 Page 7 of 7
